       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. Tanya Rashae Holland
       v. Commonwealth of Virginia
       Record No. 1088-22-3
       Opinion rendered by Judge Lorish on
        October 24, 2023

    2. Anthony Tremaine Stewart
       v. Commonwealth of Virginia
       Record No. 1363-22-3
       Opinion rendered by Judge Callins on
        November 8, 2023

    3. Arun Rashid Turay
       v. Commonwealth of Virginia
       Record No. 0868-21-3
       En banc opinion rendered by Judge Lorish on
        December 19, 2023
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Emily Katherine Delaune
   v. Commonwealth of Virginia
   Record No. 0328-22-1
   Opinion rendered by Judge Lorish
     on January 10, 2023
    Judgment of Court of Appeals affirmed by opinion rendered on
      December 14, 2023 (230127)

2. Stephen Moncrieffe
   v. Adam J. Deno, etc.
   Record No. 0342-22-2
    Opinion rendered by Judge Raphael
     on January 24, 2023
    Refused (230224)

3. Bradford T. Celluci
   v. Commonwealth of Virginia
   Record No. 0195-21-4
   En banc opinion rendered by Chief Judge Decker
     on March 14, 2024
   Refused (230266)
